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                            EXHIBIT A




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                                               Blake Wilding

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